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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                             MIAMI DIVISION

  VIOLET ADVISORS, S.A.,                      :
                                              :
         Plaintiff,                           :      CIVIL ACTION FILE
                                              :
  vs.                                         :
                                              :      NO. ___________________
  “THE ROUND” (27.08-meter twin engine :
  pleasure yacht, official number 745127,     :
  signal letters ZGDH3, registered in Prague, :
  Czech Republic in 2004 under the name       :
  “Leonardo II” now known by call sign        :
  “The Round”),                               :
                                              :
         In Rem Defendant in Admiralty,       :
                                              :
  vs.                                         :
                                              :
  EXCELLENT AUTO GROUP, INC.,                 :
  LANCE JOSEPH, NICHOLAS AULAR, :
  ALBERTO A. ALCIVAR, FANNY LEON, :
  GERMAN JACOME, LUZA SUAREZ,                 :
  ARMANDO FERNANDEZ,                          :
  CB MARINE TOWING AND                        :
  SALVAGE, INC. d/b/a SEA TOW MIAMI, :
  CHRIS SMITH, and RIO MIO, LLC,              :
                                              :
         Defendants.                          :
  ___________________________________ :

            VERIFIED PETITION FOR ARREST OF VESSEL AND
                      COMPLAINT FOR DAMAGES

        NOW COMES Plaintiff VIOLET ADVISORS, S.A. (hereafter “Plaintiff” or

  “VAS”) and files this Verified Petition for Arrest of Vessel and Complaint for


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  Damages (“Complaint”) against Defendants EXCELLENT AUTO GROUP, INC.

  (“EAG”), LANCE JOSEPH, NICHOLAS AULAR, ALBERTO A. ALCIVAR,

  FANNY LEON, GERMAN JACOME, LUZA SUAREZ, ARMANDO

  FERNANDEZ, CB MARINE TOWING AND SALVAGE, INC. d/b/a SEA TOW

  MIAMI (“Sea Tow”), CHRIS SMITH and RIO MIO, LLC (“RIO“) (collectively

  “Defendants”) showing the Court as follows:

                                      PARTIES

                                        Plaintiff

                                           1.

        Plaintiff is a for profit Panamanian company with its principal place of

  business located in the country of Panama. Plaintiff submits to the jurisdiction and

  venue of this Court.

                                   In Rem Defendant

                                           2.

        “The Round” is a 27.08-meter twin engine pleasure yacht, official number

  745127, signal letters ZGDH3, initially registered in Prague, Czech Republic in

  2004 under the name “Leonardo II” now known by call sign “The Round”

  (hereafter the “Yacht”). The Yacht is currently docked in a slip on the Miami

  River behind the Bermuda House Apartments located at 1160 NW North River

  Drive No. 2, Miami, Florida 33136 owned and operated by Defendant RIO.


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  Recent investigation revealed that the call sign “The Round” was removed from

  the rear of the Yacht and mechanical work was being performed on the engines for

  its imminent transfer to an undisclosed location.

                                      Defendants

                                           3.

        Defendant EAG is a Florida for profit corporation with its principal place of

  business located at 775 West 83rd Street, Hialeah, Florida 33014. Defendant EAG

  may be served with process via its registered agent, Alberto A. Alcivar, at 775

  West 83rd Street, Hialeah, Florida 33014.

                                           4.

        Defendant Lance Joseph is an individually licensed and practicing attorney

  in Florida. Defendant Joseph may be served with process at his residence/law

  office located at 9990 SW 77th Avenue, PH 10, Miami, Florida 33156.

                                           5.

        Defendant Nicholas Aular is an individual resident of the State of Florida.

  Defendant Aular may be served with process at his primary residence located at

  2850 NW 40th Avenue, Miami, Florida 33142.

                                           6.

        Defendant Alberto A. Alcivar is an individual resident of the State of

  Florida. Defendant Alcivar may be served with process at his primary residence


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  located at 205 SW 113th Way, Pembroke Pines, Florida 33025 or at his place of

  business located at 775 West 83rd Street, Hialeah, Florida 33014.

                                           7.

        Defendant Fanny Leon is an individual resident of the State of Florida.

  Defendant Leon may be served with process at her primary residence located at

  20533 Biscayne Boulevard, Suite 4, Miami, Florida 33180.

                                           8.

        Defendant German Jacome is an individual resident of the State of Florida.

  Defendant Jacome may be served with process at his primary residence located at

  1130 Courtney Chase Circle, Apartment 638, Orlando, Florida 32837.

                                           9.

        Defendant Luza Suarez is an individual resident of the State of Florida.

  Defendant Suarez may be served with process at her place of business located at

  775 West 83rd Street, Hialeah, Florida 33014.

                                          10.

        Defendant Armando Fernandez is an individual resident of the State of

  Florida. Defendant Fernandez may be served with process at his primary residence

  located at 5900 SW 127th Avenue, Apartment 3111, Miami, Florida 33183.




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                                           11.

        Defendant Sea Tow is a Florida for profit corporation with its principal place

  of business located at 7601 East Treasure Drive, Suite 23, North Bay Village,

  Florida 33141. Defendant Sea Tow may be served with process via its registered

  agent, Chris Smith, at 7601 East Treasure Drive, Suite 23, North Bay Village,

  Florida 33141.

                                           12.

        Defendant Chris Smith is an individual resident of the State of Florida.

  Defendant Smith may be served with process at his place of business located at

  7601 East Treasure Drive, Suite 23, North Bay Village, Florida 33141.

                                           13.

        Defendant RIO is a Florida limited liability company with its principal place

  of business located at 7959 W 28th Avenue, Hialeah, Florida 33016. Defendant

  RIO may be served with process via its registered agent, Jorge A. Lopez, at 7959

  W 28th Avenue, Hialeah, Florida 33016.

                           JURISDICTION AND VENUE

                                           14.

        This Court has subject matter jurisdiction over this action pursuant to the

  General Maritime Laws of the United States pursuant to U.S. Const. Art. III § 2

  and 28 U.S.C. §1333.


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                                            15.

        This Court has subject matter jurisdiction over this action pursuant to 28

  U.S.C. § 1332 as the parties have complete diversity of citizenship and the amount

  in controversy exceeds $75,000.

                                            16.

        This Court has personal jurisdiction over Defendants as they reside and

  conduct business within the State of Florida and within this federal judicial district.

                                            17.

        Venue is proper in this Court pursuant to 28 U.S.C. § 1391 as the acts and

  omissions set forth herein occurred within this federal judicial district and

  Defendants reside within this federal judicial district.

                                 NATURE OF ACTION

                                            18.

        Plaintiff seeks to reestablish its ownership and control of the Yacht. True

  and accurate copies of the certificate of registry, builder’s certificate, and original

  international tonnage certificate are attached hereto as Exhibit A.

                                            19.

        Defendants gained possession and control of the Yacht under false pretenses

  with fraudulent ownership documentation and acted in concert with one another to

  convert the Yacht for their own unlawful purposes. Plaintiff is entitled to


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  immediate possession of the Yacht along with damages for Defendants’ intentional

  misconduct.

                              STATEMENT OF FACTS

                                           20.

        Plaintiff Violet Advisors is a foreign corporate entity lawfully organized and

  assembled in the Republica de Panama on September 14, 2011 with amended

  corporate bylaws established on April 26, 2013. True and accurate copies of

  Violet Advisor’s notarized and recorded corporate records are attached hereto as

  Exhibit B (hereafter “Corporate Records”).

                                           21.

        The Corporate Records identified (1) Luis Oberto and Ignacio Oberto as the

  sole shareholders of Violet Advisors and (2) that Violet Advisors has been

  managed and controlled by Luis Oberto (director and president) and Ignacio

  Oberto (director and treasurer). See Exhibit B.

                                           22.

        At no time up through and including the present date did Luis Oberto or

  Ignacio Oberto sell, assign or transfer any of their shares of Violet Advisors to any

  third-party entity or individual (including Defendants).




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                                            23.

        At no time up through and including the present date did Violet Advisors

  appoint or authorize any third-party entities or individuals to act as company

  directors, officers or managers (including Defendants) other than the individuals

  identified in the Corporate Records.

                                            24.

        At no time up through and including the present date did Violet Advisors or

  any of its shareholders, officers or directors appoint or authorize any entity or

  individual (including Defendants) to act on its behalf in the transfer, assignment or

  sell of company assets (including the Yacht.

                                            25.

        Violet Advisors purchased the Yacht from Weber Investment s.r.o., in 2013

  for the amount of Euro 1,450,000 € and commissioned a pre-purchase survey

  report detailing all aspects of the Yacht. True and accurate copies of the bill of

  sale, shipping records and the pre-purchase survey are attached hereto as Exhibit

  C. The Yacht was then transported across the Atlantic Ocean and delivered to

  Violet Advisors in June 2013 at the international port in Palm Beach, Florida.

  True and accurate copies of the U.S. Customs Entry Declaration and Cargo Receipt

  are attached hereto as Exhibit D.




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                                           26.

        Thereafter, Violet Advisors obtained a “certificate of British registry” from

  the Cayman Islands certifying ownership and title in Violet Advisors. A true and

  accurate copy of the Certificate of British Registry is attached hereto as Exhibit E.

                                           27.

        Beginning in 2019, Violet Advisors moved the Yacht through Miami and

  docked the Yacht at the residence of Leo Andrea located at 16430 NE 35th Avenue,

  North Miami Beach, Florida 33160 (hereafter “Leo Residence”) where it remained

  continually docked until March 23, 2020 without being moved or transported.

                                           28.

        On March 23, 2020, Defendants Joseph and Alcivar entered the Leo

  Residence and engaged Mr. Andrea at the front door. Defendant Joseph informed

  Mr. Andrea that the Yacht had been recently sold by Violet Advisors to Defendant

  EAG and was subject to immediate seizure. Defendant Joseph explained that he

  was a licensed Florida attorney and warned Mr. Andrea “not to interfere” as the

  Yacht had been lawfully purchased under Florida law.

                                           29.

        To support this contention, Defendant Joseph showed Mr. Andrea a “stack

  of papers” he claimed proved the validity of the transaction. Defendant Joseph

  refused to provide Mr. Andrea with copies of the paperwork but allowed Mr.


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  Andrea to take photographs of certain pages with his cellular telephone. True and

  accurate copies of the documents Defendant Joseph allowed Mr. Andrea to

  photograph on March 23, 2020 are attached hereto as Exhibit F (hereafter

  “Manufactured Sale Documents”).

                                          30.

        Later that evening, Defendants Alcivar, Smith and two other unidentified

  individuals returned to the Leo Residence and boarded the Yacht docked at the rear

  of the property. Mr. Andrea had not given Defendants Alcivar, Smith or the

  unidentified individuals permission to enter the Leo Residence or to board the

  Yacht and they were trespassing on his property.

                                          31.

        Mr. Andrea called the North Miami Beach Police Department and Officer

  Dostaly was dispatched to the Leo Residence. Defendant Alcivar used the

  Manufactured Loan Documents assembled by Defendant Joseph to legitimize the

  alleged transaction and coerced Officer Dostaly into temporarily allowing the

  Yacht to be moved under cover of darkness.

                                          32.

        Thereafter, Defendant Alcivar (acting individually and on behalf of

  Defendant EAG), Defendant Smith (acting individually and on behalf of Defendant

  Sea Tow) and the two unidentified individuals unlawfully and without authority,


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  permission or title seized possession of the Yacht from the Leo Residence for the

  benefit of Defendants. The Yacht was removed to a dock owned by Defendant

  RIO where its GPS tracking devices were disabled and its call sign was removed.

                                          33.

        A cursory review of the Manufactured Sales Documents in the light of the

  next day revealed the following fatal flaws:

        a) Defendants provided no documentation verifying that Defendant Jacome

           (the individual signing the bill of sale on behalf of Violet Advisors) had

           permission or corporate authority to sell the Yacht on behalf of Violet

           Advisors;

        b) Defendants provided no documentation (as none exists) showing title of

           the Yacht in Defendant EAG;

        c) The “purported” power of attorney from Defendant Jacome to Defendant

           Fernandez had been modified from its original form using a “sharpie”

           marker and whiteout;

        d) The notary seal and commission affixed to the “purported” power of

           attorney expired four years prior to the date of execution;

        e) The same expired notary public that notarized the “purported” power of

           attorney also allegedly notarized the “purported” bill of sale in 2015;




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        f) The sales prices of $200,000 set forth in the “purported bill of sale”

           represents a fraction of the actual value of the Yacht;

        g) Defendants EAG and Fernandez mysteriously appear as “brokers” and

           “declarants” on a handwritten U.S. Customs Entry Summary Form

           showing Miami as the U.S. “port of unlading” on March 4, 2020 at a time

           when the Yacht was securely docked at Leo’s Residence; and

        h) Defendants provided no evidence or proof of any funds being paid to

           Violet Advisors as part of this “alleged” transaction.

                                           34.

        Further investigation revealed that no shareholder, director or officer of

  Violet Advisors had any knowledge of any of the Defendants, had transacted

  business directly with any of the Defendants, had any knowledge of the “alleged”

  transaction involving the Yacht, had received any payments from Defendants for

  the Yacht, or otherwise authorized any of the Defendants to sell, assign or transfer

  ownership of the Yacht.

                                           35.

        An updated transcript of British registry was ordered from the Maritime

  Authority of the Cayman Islands which established Violet Advisors as the owner

  of the Yacht up through and including April 15, 2020. A true and accurate copy of




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  the updated Transcript of British Registry for the Yacht is attached hereto as

  Exhibit G.

                                           36.

        On March 24, 2020 counsel for Violet Advisors reached out to Defendant

  Joseph seeking immediate cooperation in return of the Yacht. Defendant Joseph

  refused to cooperate and sent a follow-up email to counsel for Violet Advisors on

  April 15, 2020 threatening to “harm your career” and “file a complaint against you

  and your firm.” A true and accurate copy of the April 15, 2020 email from

  Defendant Joseph is attached hereto as Exhibit H.

                                           37.

        Defendants individually and in concert with one another orchestrated a

  common scheme to take possession of the Yacht under false pretenses pursuant to

  a fraudulent claim of title.

                                           38.

        Defendant Joseph (1) coordinated and compiled the Manufactured Sales

  Documents into a “package” he presented as a lawful sale and transfer of the Yacht

  to Defendant EAG, (2) flaunted his status as a licensed Florida attorney in an

  attempt to add credibility to the Manufactured Sales Documents and legality of the

  Yacht’s seizure, and (3) threatened to “harm” and “file a complaint” against




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  counsel for Violet Advisor’s for initiating an investigation into the actions of

  Defendants.

                                           39.

        Defendants Alcivar, Alur and Suarez, individually and as owners, directors,

  officers or agents of Defendant EAG, (1) drafted, prepared and executed the

  “purported” bill of sale, power of attorney and U.S. Customs forms contained in

  the Manufactured Sales Documents “allegedly” selling the Yacht to Defendant

  EAG, (2) trespassed onto the Leo Residence and the Yacht, (3) unlawfully

  exercised self-help and seizure remedies to gain possession of the Yacht under

  false pretenses, (4) coordinated transfer of the Yacht from the Leo Residence to the

  slip owned by Defendant RIO, (5) disabled GPS tracking devises on the Yacht

  concealing it from public view and (6) removed the call sign “The Round” from

  the rear of the Yacht.

                                           40.

        Defendant Leon “allegedly” notarized and witnessed the “purported” bill of

  sale and power of attorney forms contained in the Manufactured Sales Documents

  in an effort to add credibility and formalize the scheme to take possession of the

  Yacht.




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                                           41.

        Defendant Jacome “allegedly” signed the bill of sale and power of attorney

  forms as part of the Manufactured Sales Documents “purporting” to have authority

  on behalf of Violet Advisors to transfer/sell the Yacht.

                                           42.

        Defendant Fernandez was the beneficiary of the “alleged” power of attorney

  form claiming authority from Defendant Jacome to take possession of the Yacht

  and signatory on the U.S. Customs forms that were part of the Manufactured Sales

  Documents.

                                           43.

        Defendant Smith, individually and on behalf of Defendant Sea Tow, (1)

  trespassed onto the Leo Residence and the Yacht, (2) unlawfully exercised self-

  help and seizure remedies to gain possession of the Yacht under false pretenses,

  and (3) captained/transported the Yacht from the Leo Residence to the slip owned

  by Defendant RIO.

                                           44.

        Defendant RIO stored the Yacht at one if its boat slips, disabled the Yacht’s

  GPS tracking system and removed the call sign from the Yacht.




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                                       COUNT I

                                 ARREST OF VESSEL

                                           45.

        Plaintiff incorporates by reference the allegations set forth in paragraphs 1

  through 44 of the Complaint as if fully set forth herein.

                                           46.

        Plaintiff submits this Petition for Arrest of Vessel pursuant to Rule D of the

  Federal Rules of Civil Procedure.

                                           47.

        Plaintiff contends it is the rightful owner of the Yacht as shown on the

  updated Transcript of British Registry. See Ex. G.

                                           48.

        Defendants unlawfully seized possession and control over the Yacht under

  false pretenses based upon false and misleading Manufactured Sales Documents.

  See Ex. F.

                                           49.

        Upon information and belief, the Defendants transferred the Yacht to the

  dock owned and controlled by Defendant RIO.




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                                           50.

        Plaintiff petitions this Court for an immediate Order of Arrest of the Yacht

  into the custody of the United States Marshall’s Office or a substitute custodian

  under Local Admiralty Rule E(10)(c).

                                           51.

        Plaintiff petitions this Court for a Final Order of Judgment establishing

  ownership and title of the Yacht in Plaintiff.

                                       COUNT II

                                       REPLEVIN

                           (plead in the alternative to Count I)

                                           52.

        Plaintiff incorporates by reference the allegations set forth in paragraphs 1

  through 51 of the Complaint as if fully set forth herein.

                                           53.

        Plaintiff is and was at all times relevant to this Complaint the rightful owner

  of the Yacht as shown on the updated Transcript of British Registry. See Ex. G.

                                           54.

        On March 23, 2020, Defendants unlawfully seized possession of the Yacht

  under false pretenses transporting the Yacht to a dock controlled by Defendant




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  RIO and disabling the GPS tracking system concealing the Yacht from public

  view.

                                            55.

          Over repeated objections and demands, Defendants refused to return the

  Yacht to Plaintiff instead possessing and controlling the Yacht for their own

  benefit and purposes.

                                            56.

          Defendants unlawful seizure of the Yacht and false claim of ownership is

  based solely upon the Manufactured Sales Documents which do not support a lawful

  transfer or sale of the Yacht to Defendant EAG.

                                            57.

          The Yacht was not seized by Defendants as part of any tax, assessment, fine

  or under any attachment/execution against the Yacht.

                                            58.

          The Yacht has an estimated value in excess of $1,500,000 and Plaintiff is

  entitled to an immediate Order of Replevin plus all fees, costs and expenses.

                                            59.

          Plaintiff also petitions this Court for a Final Order and Judgment

  establishing ownership and title in Plaintiff.




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                                      COUNT III

                                    CONVERSION

                                           60.

        Plaintiff incorporates by reference the allegations set forth in paragraphs 1

  through 59 of the Complaint as if fully set forth herein.

                                           61.

        Defendants, individually and collectively, engaged in series of unauthorized

  acts designed to take possession of the Yacht including, drafting, preparing and

  executing the Manufactured Sales Documents, trespassing on the Leo Residence

  and Yacht, exercising self-help seizure remedies under false pretenses, transporting

  the Yacht from the Leo Residence to the slip owned by Defendant RIO, disabling

  the GPS tracking devices on the Yacht concealing it from public view and

  removing the call sign “The Round” from the rear of the Yacht.

                                           62.

        Defendants’ actions deprived Plaintiff of its rightful ownership and

  possession of the Yacht in a manner that is inconsistent with its ownership rights.

  Despite repeated demands, Defendants refused to return the Yacht to Plaintiff.




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                                           63.

        Plaintiff has been damaged as a direct and proximate result of Defendants’

  actions and is entitled to compensatory damages, punitive damages and attorneys’

  fees and expenses in an amount to be determined at trial.

                                      COUNT IV

                                 CIVIL CONSPIRACY

                                           64.

        Plaintiff incorporates by reference the allegations set forth in paragraphs 1

  through 63 of the Complaint as if fully set forth herein.

                                           65.

        Defendants engaged in a common plan and conspiracy to take ownership

  and possession of the Yacht through unlawful means.

                                           66.

        Defendants engaged in a series of unauthorized acts in pursuance and in

  furtherance of their conspiracy to take possession of the Yacht including, drafting,

  preparing and executing the Manufactured Sales Documents, trespassing on the

  Leo Residence and Yacht, exercising self-help seizure remedies under false

  pretenses, transporting the Yacht from the Leo Residence to the boat slip owned by

  Defendant RIO, disabling the GPS tracking devices on the Yacht concealing it




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  from public view and removing the call sign “The Round” from the rear of the

  Yacht.

                                            67.

        Plaintiff has been damaged as a direct and proximate result of the acts

  performed by Defendants in pursuance of their conspiracy and is entitled to

  compensatory damages, punitive damages, attorneys’ fees and expenses in an

  amount to be proven at trial.



  WHEREFORE, Plaintiffs requests that the Court:

        1) Issue an Order and Warrant of Arrest for the Yacht;

        2) Grant judgment in favor of Plaintiffs on its claims for Arrest of Vessel,

           Replevin, Conversion and Conspiracy;

        3) Award damages to Plaintiffs in amounts to be determined at trial;

        4) Award Plaintiffs its attorneys’ fees, expenses and costs of prosecution;

        5) Grant Plaintiff a jury trial on all claims triable by jury; and

        6) Grant such other and further relief the Court deems just and proper.




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        Respectfully submitted this 24th of April, 2020.


                                        By: /s/Christopher Y. Mills
                                        Christopher Y. Mills
                                        Busch Slipakoff Mills & Slomka LLC
                                        Florida Bar 72207
                                        319 Clematis Street, Suite 109
                                        West Palm Beach, Florida 33401
                                        Telephone: (561) 408-0019
                                        Email: cm@bsms.law


                                        Laura H. Mirmelli
                                        Florida Bar No.: 0044642
                                        Busch Slipakoff Mills & Slomka LLC
                                        3350 Riverwood Parkway S.E., Ste., 2100
                                        Atlanta, GA 30339
                                        Telephone: (404) 800-4031
                                        lm@bsms.law

                                        Attorneys for Plaintiff




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             VERITIFICATION OF PETITION FOR ARREST OF VESSEL
                       AND COMPLAINT FOR DAMAGES




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